8:06-cr-00071-LSC-TDT        Doc # 106      Filed: 11/13/06     Page 1 of 2 - Page ID # 233




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )               CASE NO. 8:06CR71
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )               TENTATIVE FINDINGS
                                              )
GUSTAVO SAUCEDO-BELTRAN,                      )
                                              )
              Defendant.                      )


       The Court has received the Presentence Investigation Report (“PSR”) and the

government’s objection thereto (Filing No. 87). See Order on Sentencing Schedule, ¶ 6.

The Court advises the parties that these Tentative Findings are issued with the

understanding that, pursuant to United States v. Booker, 543 U.S. 220 (2005), the

sentencing guidelines are advisory.

       The government objects to the statement in ¶ 49 that the probation officer is of the

belief that the Defendant is responsible for 492 grams of methamphetamine.1 The Court

is not at liberty to change the probation officer’s assessment, and the amount used in

choosing the base offense level is the amount agreed upon by the parties. Therefore, the

objection is denied.

       IT IS ORDERED:

       1.     The government’s Objection to the Presentence Investigation Report (Filing

No. 87) is denied;


       1
        In paragraph 49, the probation officer adds that the case agent advised that it is not
unreasonable that the Defendant is responsible for at least 500 grams of
methamphetamine, the amount agreed upon by the parties in the plea agreement. The
probation officer relied on the amount set out in the plea agreement in choosing the base
offense level.
8:06-cr-00071-LSC-TDT         Doc # 106    Filed: 11/13/06    Page 2 of 2 - Page ID # 234




       2.      The Court’s tentative findings are that the Presentence Investigation Report

is correct in all respects;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.      Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.      Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 13th day of November, 2006.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District Judge




                                               2
